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                 UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF MICHIGAN
                      SOUTHERN DIVISION


UNITED STATES OF AMERICA,                     2:21-CR-20747-TGB-KGA
                  Plaintiff,

                                            HON. TERRENCE G. BERG
      vs.


MARCOS MONARREZ,                           ORDER REVOKING BOND
                  Defendant.

      On May 4, 2022, the Court released Defendant Marcos Monarrez on

bond. See ECF No. 161. As a condition of his release, Defendant Monarrez

was not to engage in any illegal activity. Id. at PageID.600. But on

January 11, 2023, Defendant Monarrez was arrested on new criminal

charges filed in the United States District Court for the Western District

of Pennsylvania.1 ECF No. 217, PageID.876.

      Monarrez acknowledges that probable cause has been established

that he has violated his release conditions. ECF No. 217, PageID.876. He
waives his right to a detention hearing and asks the Court to find that he

has violated his conditions and that his bond should be revoked. Id.

      The only dispute is whether this revocation should be retroactive to

the date of Defendant Monarrez’s original arrest on January 11, 2023.


1That case appears to be United States v. Monarrez-Mendoza, Case No.
22-00021.
                                  1
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Monarrez argues that it should be, because he has been actually held in

custody since that date, and is entitled to credit for the time he has been

in jail. Id. at PageID.876-77. He also argues that, by waiving his right to

a hearing, he is conserving judicial resources and the government’s time.
      The government concurs in Monarrez’s request for revocation. See

ECF No. 223, PageID.895. It opposes his request that the effective date

of the revocation be considered January 11, 2023. Id. But while “the
Government does not believe such relief is appropriate,” it does not

explain its opposition, and merely states that it will leave the issue to the

Court’s discretion.2 Id.
      In light of the above and after a review of the docket in the case

against Mr. Monarrez filed in the Western District of Pennsylvania, the

Court finds that probable cause exists to believe that Defendant
Monarrez violated the conditions of his bond by engaging in new criminal

activity. Accordingly, Monarrez’s bond is REVOKED. The effective date

of that revocation shall be January 11, 2023 to reflect the actual time Mr.

Monarrez has spent in custody.

      SO ORDERED this 12th day of July, 2023.

                                   BY THE COURT:
                                   /s/Terrence G. Berg
                                   TERRENCE G. BERG
                                   United States District Judge

2Though the government’s response was a few days late, the filing is
accepted.
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